
*1381NEWMAN, Circuit Judge, dissents from the denial of the petition for rehearing en banc.
ORDER
PER CURIAM.
A consolidated petition for rehearing en banc was filed by the Petitioners-Appellants, and a response thereto was invited by the court and filed by the Respondent-Appellee. The petition for rehearing was referred to the panel that heard the appeal, and thereafter the petition for rehearing en banc and the response were referred to the circuit judges who are authorized to request a poll of whether to rehear the appeal en banc. A poll was requested, taken, and failed.
Upon consideration thereof,
It Is Ordered That:
(1) The petition of Petitioners-Appellants for panel rehearing is denied.
(2) The petition of Petitioners-Appellants for rehearing en banc is denied.
(3) The mandate of the court will issue on September 4, 2012.
